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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED

 

CBI CAPITAL LLC, DOC #:
DATE FILED: 10/20/2020

Plaintiff-Counterclaim Defendant,

 

-against-

19 Civ. 5219 (AT)

MIKE MULLEN and MIKE MULLEN ENERGY
EQUIPMENT RESOURCE, INC., ORDER

Defendants-Counterclaim Plaintiffs
MIKE MULLEN ENERGY EQUIPMENT
RESOURCE, INC.,

 

Third-Party Plaintiff,
-against-

EVAN CLAAR,

 

Third-Party Defendant
ANALISA TORRES, District Judge:

 

The Court having reviewed Plaintiff CBI Capital LLC’s letter dated October 13, 2020,
ECF No. 111, by October 27, 2020, Defendant Mike Mullen Energy Equipment Resource, Inc.
shall file a letter indicating that it has obtained counsel, and its opposition to Defendant’s motion
for summary judgment.

Defendant has already flouted two orders from this Court inquiring about the status of
Defendant’s new counsel. See ECF Nos. 102, 109. Defendant also failed to comply with the
Court’s order directing Defendant to file its opposition to Plaintiff's motion for summary
judgment by October 9, 2020. ECF No. 100. Therefore, the Court will direct Plaintiff to move
for a default judgment if Defendant fails to respond by this date.

In addition, Plaintiff shall mail a copy of its letter dated October 13, 2020, ECF No. 111,
along with this order, to Defendant via Federal Express at its business address and at the primary
residence of the principal, Mike Mullen.

 

SO ORDERED.
Dated: October 20, 2020 7 C
New York, New York ANALISA TORRES

United States District Judge
